                                                 ·.                                     Jl4 i ( j
                             Case 2:17-cv-00244-NIQA Document 1-1 Filed 01/11/17 Page 1 of                                              ,_,-c..v-.
 JS44   (Rev.0711~\
 The JS 44 civil cover sheet and the info
 providw by local rules of court. This fo

 I. (a) PLAINTIFFS
                                          '


                                                 S
                                                CIVIL COVER SHEET                          'i I
                                                 n1co ained herein neither replace nor supplement the filing and service ofpleadin&S or other papers as reguired by law, except as
                                                     _ed by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
 purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

          LOUIS P. BUCKY, M.D., 1275 S. Avignon Drive, Gladwyne, PA 19035 and
                                                                                                        DEFENDANTS
                                                                                                        ANDERSON JACKSON METTS/PHS, 1317 Route 73, Suites 101 & 105, Mount
          LOUIS P. BUCKY, MC, PC 230 West Washington Square, Suite 101,                                 Laurel, NJ 08054 and AJM INSURANCE MANAGEMENT, 1317 Route 73,
          Philadelphia, PA 19106                                                                        Suites 101 & 105, Mount Laurel, NJ 08054

    (b) County of Residence of First Listed Plaintiff           PhiladJ;lphia, PA_____ .__              County of Residence ofFirst Listed Defendant                    J~_urlinAA:Jrr CoUJlty,j'l_l___ ___ _
                              (EXCEPT IN US. PLAINTIFF CASES)                                                                  (JN US. PLAINTIFF CASES ONLY)
                                                                                                        NOTE:     IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                  TIIE TRACT OF LAND !NVOL VED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                            Attorneys (If Known)
          Mark T. Mullen, Esquire 40166
          COZEN O'CONNOR, PC
          One Liberty Place
          1650 Market Street, Suite 2800
          Philadelnhia PA 19103· (2151665-2000
                                                                                         III. CITIZENSHIP O~CIPAL PARTIES (Place an "X' in One Box/or Plaintiff


                                                                                                                                                                                                      .
II. BASIS OF JURISDICTION (Place an "X";,, One Box only)
                                                                                                   (For Diversity Cases       ~                                              and One Box for Defendant)
 0 I    U.S. Government            0 3    Federal Question                                                                     PTF      DEF                                               0\DEF
          Plaintiff                         (U.S. Govemment Not a Party)                      Citizen of This State            181 I    0     I   Incorporated or Principal Place          181 4 0 4

                              N~ersity
                                                                                                                                                    of Business In This State

 0 2 U.S. Government
        Defendant             ~Indicate Citizenship of Parties in Item lll)




IV. NATURE OF SUIT (Place an "X" in One Box Only)
                                                                                              Citizen of Another State


                                                                                              Citizen or Subject ofa
                                                                                                Foreign Country
                                                                                                                               0 2


                                                                                                                               0 3
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                                                                                                                                                  Incorporated and Principal Place
                                                                                                                                                     of Business In Another State

                                                                                                                                                  Foreign Nation
                                                                                                                                                                                             0


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                                                               TO TS
1811 0 Insurance                     PERSONAL INJURY              PERSONAL INJURY           0625 Drug Related Seizure         0422 Appeal 28 USC 158      0 375 False Claims Act
 01 OMarine                       0310Airplane                 0365Personalinjury -                ofProperty21 USC881 0423Withdrawal                     0 376QuiTam(31 USC
      0 Miller Act                0 315 Airplane Product              Product Liability     0690 Other                               28 USC 157                  3729(a))
 0 140 Negotiable Instrument              Liability            0 367 Health Care/                                                                         0 400 State Reapportionment
 0 150 Recovery of Overpayment 0 320 Assault, Libel &                 Pharmaceutical                                         J:JiiQi~lliutiiiiiii::::JO 410 Antitrust
        & Enforcement of Judgment         Slander                     Personal Injury                                         0 820 Copyrights            0 430 Banks and Banking
 0 151 Medicare Act               0 330 Federal Employers'           Product Liability                                        0 830 Patent                0 450 Commerce
 0 152 Recovery of Defaulted              Liability            0 368 Asbestos Personal                                        0 840 Trademark             0 460 Deportation
        Student Loans             0 340 Marine                        Injury Product                                                                      0 470 Racketeer Influenced and
        (Excludes Veterans)       0 345 Marine Product                Liability            b:;::::;:~~iiji(:;=~=t~~~iji~y_iffiL=~                               Corrupt Organizations
 0 153 Recovery of Overpayment            Liability             PERSONAL PROPERTY 0 710 Fair Labor Standards                    861 IDA (1395ft)          0 480 Consumer Credit
        of Veteran's Benefits     0 350 Motor Vehicle          0 370 Other Fraud                   Act                        0 862 Black Lung (923)      0 490 Cable/Sat TV
 0 160 Stockholders' Suits        0 355 Motor Vehicle          0 371 Truth in Lending       0720 Labor/Management             0 863 DIWC/DIWW (405(g)) 0 850 Securities/Commodities/
 0 190 Other Contract                    Product Liability     0 380 Other Personal                Relations                  0 864 SSID Title XVI              Exchange
 0 195 Contract Product Liability 181360 Other Personal              Property Damage        0740 Railway Labor Act            0 865 RSI (405(g))          0 890 Other Statutory Actions


                                                                                                                                  -----------0
 0 196 Franchise                         Injury                0 385 Property Damage        0751 Family and Medical                                       0 891 Agricultural Acts
                                  O 362 Personal Injury -            Product Liability             Leave Act                                              D 893 Environmental Matters
                                         Medical Malpractice                                0 790 Other Labor Litigation                                    895 Freedom oflnformation
.---.u==·::-AL:-;o-P=a=-o=PE=a==n=:---t-"°"!!:=::-:RIGHTS===---r-=p=RJSONE==::R~P==E===i:-i 0 791 Employee Retirement           FEDER.ALT~ SUITS                Act
    210 Land Condemnation            440 Other Civil Rights       Habeas Corpus:                  Income Security Act           870 Taxes (U.S. Plaintiff 0 896 Arbitration
 0 220 Foreclosure                0 441 Voting                 0 463 Alien Detainee                                                 or Defendant)         0 899 Administrative Procedure
 0 230 Rent Lease & Ejectment     0 442 Employment             0 510 Motions to Vacate                                        0 871 IRS-Third Party             Ac1/Review or Appeal of
 0 240 Torts to Land                 443 Housing/                    Sentence                                                       26 USC 7609                 Agency Decision
 0 245 Tort Product Liability            Accommodations        D 530 General                                                                              0 950 Constitutionality of
 D 290 All Other Real Property    0 445 Amer. w/Disabilities • D 535 Death Penalty                 IMMIGRJ\TION.                                                State Statutes
                                         Employment               Other:                      462 Natw;alization Application
                                  0 446 Amer. w/Disabilities - 0 540 Mandamus & Other       0465 Otherlmmigration
                                         Other                 0 5SO Civil Rights                 Actions
                                  0 448 Education              0 555 Prison Condition
                                                               0 560 Civil Detainee -
                                                                     Conditions of
                                                                     Confinement


                                                      n3        Remanded from           n 4 Reinstated or       n 5 Transferred from              n 6 Multidistrict                 n 8 Multidistrict
                                                                Appellate Court             Reopened                Another District                  Litigation -                         Litigation -
                                                                                                                         (specifY)                    Transfer                             Direct File
                                      Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes u11tess diversity):

VI. CAUSE OF ACTION ~~e~:~;dript:::!fcause:
                                      Breach of Contract and Ne i ence of Insurance Broker
VII. REQUESTED IN                         CHECK IF THIS IS A CLASS ACTION              DEMANDS 470,000.00                                     CHECK YES only if demanded in complaint:
     COMPLAINT:                           UNDER RULE 23, F.R.Cv.P.                                                                            JURY DEMAND:         181Yes     CNo
VIII. RELATED CASE(S)
                                         (See instructions):
      IFANY                                                      JUDGE                                                                 DOCKET NUMBER               ,,   ______ .. - - - -
DATE                                                               SIGNATURE OF ATTORNEY OF RECORD
01/1112017
LEGAL\29107212\1
                                                                                                                                       1 20111
                                 Case 2:17-cv-00244-NIQA Document 1-1 Filed 01/11/17 Page 2 of 4
                                                           UNITED STATES DISTRICT COURT
                                                                                                                                                0244
                       ERN DISTRICT OF PENNSYLVANIA - DESIGNATION FORM to be used by counsel to indicate the category of the case
                       f assignment to appropriate calendar.
                    '!<tl-f'l'
Address of Plaintiffs: 1275 S. Avignon Drive, Gladwyne. PA 19035 and 230 West Washington Sguare. Suite IOI. Philadelphia PA 19106
Address of Defendants: 1317 Route 73. Suites 101 & 105. Mount Laurel. NJ 08054

Place of Accident, Incident or Transaction:          230 West Washington Square, Suite 101. Philadelphia PA 19106

                                                                       (Use Reverse Side For Additional Space)


Does this case involve multidistrict litigation possibilities?
RELATED CASE IF ANY

Case Number:                                     Judge:                                                 Date Terminated:

Civil cases are deemed related when yes is answered to any of the following questions:

l. Is this case related to property included in an earlier numbered suit pending or within
   one year previously terminated action in this court?                                                                                  YesO No ~
2. Does this case involve the same issue offact or grow out of the same transaction
   as a prior suit pending or within one year previously terminated action in this court?                                                YesO       No.~
3. Does this case involve the validity or infringement of a patent already in suit or any
earlier numbered case pending or within one year previously terminated action in this court?                                             YesO       No.181

CIVIL: (Place 0 in ONE CATEGORY ONLY)
A. Federal Question Cases:
 1. D Indemnity Contract, Marine Contract, and All
       Other Contracts
 2.0FELA
 3. 0 Jones Act-Personal Injury                                                                        3. 0 Assault, Defamation
 4. D Antitrust                                                                                       4. O Marine Personal
 S. 0 Patent                                                                                           S. 0 Motor Vehicle Personal Injury

 6. D Labor-Management Relations                                                                       6 O Other Personal Injury (Please specify) premises liability
 7. 0 Rights                                                                                           7. 0 Products Liability

8. 0 Habeas Corpus                                                                                    8. 0 Products Liability -- Asbestos
 9. 0 Securities Act(s) Cases                                                                         9. 0 All other Diversity Cases
10.0 Social Security Review Cases                                                                            (Please specify)
11.0 All other Federal Question Cases
       (Please specify)

                                                                  ARBITRATION CERTIFICATION
                                                                     (Check appropriate Category)



                   ursuant to Local Civil Rule 53.2, Section 3(cX2), that to the best of my knowledge and belief, the damages recoverable in this civil
                   ction case exceed the sum of$100,000.00 exclusive of interest and costs;
                  Relief other than monetary \iamages is sought.

DATE:      January12,2~~~t,: ,:.>/_~~­                                                                                          40166
                                                Attorney-at-Law                                                              Attorney l.D.#

                                 NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not related to any case now pending or within one year previously terminated action in this court
except as noted above.              . -· 7,7 ,.      p     c-1
DATE: January 12, 2017 <'.----'? " \;t_·v"'lL.I I·            0z         f~~                                                 _
                                                                                        JAN 11 zo 11J
                                                                                                                                _,.4"'01,,,6=6_ _ __
CIV. 609 (7/95)                                 Attorney-at-Law          -          r                                        Attorney l.D.#


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            Case 2:17-cv-00244-NIQA Document 1-1 Filed 01/11/17 Page 3 of 4



                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    LOUIS P. BUCKY, M.D.                                      )
    1275 S. Avignon Drive                                     )
    Gladwyne, PA 19035                                        )
                                                              )    CIVIL ACTION NO.
            and                                               )
                                                              )
   LOUIS P. BUCKY, M.D., P.C.                                 )
   230 West Washington Square                                 )    JURY TRIAL DEMANDED
   Suite 101                                                  )
   Philadelphia, PA 19106                                     )
                                                              )
                    Plaintiffs,                               )
                                                              )
            v.                                                )
                                                              )
   ANDERSON JACKSON METTS I PHS                               )
   1317 Route 73                                              )
   Suites 101and105                                           )
   Mount Laurel, NJ 08054                                     )
                                                              )
            and                                               )
                                                              )
   AJM INSURANCE MANAGEMENT                                   )
   1317 Route 73                                              )
   Suites 101 and 105                                         )
   Mount Laurel, NJ 08054                                     )
                                                              )
                    Defendants.                               )

                            CASE MANAGEMENT TRACK DESIGNATION FORM

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for plaintiff shall
complete a case Management Track Designation Form in all civil cases at the time of filing the complaint and
serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse side of this form.) In the event
that a defendant does not agree with the plaintiff regarding said designation, that defendant shall, with its first
appearance, submit to the clerk of court and serve on the plaintiff and all other parties, a case management track
designation form specifying the track to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus -- Cases brought under 28 U.S.C.
    §2241 through §2255.                                                                                    D
(b) Social Security -- Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                          D
(c) Arbitration -- Cases required to be designated for arbitration under Local Civil Rule 53.2.             D
             Case 2:17-cv-00244-NIQA Document 1-1 Filed 01/11/17 Page 4 of 4


(d) Asbestos -- Cases involving claims for personal injury or property damage from exposure to
    asbestos.                                                                                         D
(e)    Special Management -- Cases that do not fall into tracks (a) through (d) that are commonly
       referred to as complex and that need special or intense management by the court.
      (See reverse side of this form for a detailed explanation of special management cases.)

(f) Standard Management -- Cases that do not fall into any one of the other tracks.


January 11, 2017                       Mark T. Mullen                        Plaintiff
Date                                   Attorney at Law                       Attorney for Plaintiff

215-665-2091                           215-701-2091                          mmullen@cozen.com
Telephone                              Fax Number                            Email Address
